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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


  E.O. and D.O., on behalf of E.O.,                  Civil Action No.

                  Plaintiffs,                        20-4803 (SDW) (LDW)

  v.
                                                     60-DAY ORDER
                                                     ADMINISTRATIVELY
  TEANECK BOARD OF EDUCATION
                                                     TERMINATING ACTION
  and THE TEANECK COMMUNITY
  CHARTER SCHOOL,

                  Defendants.


       The parties having informed the Court that they have reached a settlement in principle
(ECF No. 26), and subsequently counsel having advised the Court that all parties have executed
the settlement agreement, and all parties consenting to entry of this Order;
       IT IS, on this 10th day of August 2021,
       ORDERED that this action and any pending motions are hereby administratively
terminated; and it is further
       ORDERED that this shall not constitute a dismissal Order under Federal Rule of Civil
Procedure 41; and it is further
       ORDERED that within 60 days after entry of this Order (or such additional period
authorized by the Court), the parties shall file all papers necessary to dismiss this action under
Federal Rule of Civil Procedure 41 or, if settlement cannot be consummated, request that the action
be reopened; and it is further
       ORDERED that, absent receipt from the parties of dismissal papers or a request to reopen
the action within the 60-day period, the Court shall dismiss this action, without further notice, with
prejudice and without costs.

                                                 s/ Leda Dunn Wettre
                                                Hon. Leda Dunn Wettre
                                                United States Magistrate Judge
